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                   IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF DELAWARE


MICHAEL C. TRIMARCO                   )
                                      )
      Plaintiff,                      )
                                      )
v.                                    ) Case No. 1:20-cv-01408-RGA
                                      )
                                      )
MICHAEL T. FARLEY, et al.,            )
                                      )
      Defendants.                     )
                                      )

     NOTICE OF CHANGE OF FIRM AFFILIATION AND ADDRESS

      PLEASE TAKE NOTICE that the firm affiliation and contact information

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